         Case 2:24-cr-00105-WBV-JVM             Document 298-12   Filed 05/19/25    Page 1 of 1

          From: "D. Patrick Keating" <patrick@keatinglawgroup.legal>
             To:                    <     @keatinglawgroup.legal>
        Subject: Look at this shit.
           Date: Thu, 21 Feb 2019 18:38:56 +0000
    Importance: Normal
   Attachments: ATT00001.txt; unnamed_document.pdf




Get Outlook for Android


From: Jason Giles <jgiles@kinginjuryfirm.com>
Sent: Thursday, February 21, 2019 12:21:57 PM
To: D. Patrick Keating
Subject: Fwd: unnamed document.pdf




---------- Forwarded message ---------
From:                    @             .com>
Date: Tue, Feb 19, 2019 at 10:04 PM
Subject: unnamed document.pdf
To:              <      @kinginjuryfirm.com>, jgiles@kinginjuryfirm.com <jgiles@kinginjuryfirm.com>,
             <     @kinginjuryfirm.com>,       @kinginjuryfirm.com <       @kinginjuryfirm.com>


Check the list in Pretrial Order



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Jason F. Giles
The King Firm
2912 Canal St.
New Orleans, LA 70119
Main Line 504-909-KING
Direct Dial 504-304-2361




                                                                                        GOVERNMENT
                                                                                          EXHIBIT

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